      Case 2:10-md-02179-CJB-DPC Document 314-4 Filed 09/21/10 Page 1 of 6



To:    All BOEMRE District Employees

From: Michael R. Bromwich
      Director, Bureau of Ocean Energy Management, Regulation and Enforcement

Subject: Policy Regarding Interference with the Performance of Official Duties and Potential
Conflicts of Interest

       Effective immediately, all Bureau of Ocean Energy Management, Regulation and
Enforcement (BOEM) District employees performing offshore duties will adhere to the requirements
and procedures outlined in this memorandum. Any previous guidance relating to restrictions or
recusals associated with the performance of offshore duties by District employees are superseded by
this memorandum.

Interference with the Performance of Official Duties

        District employees must perform their duties based solely on the facts and information they
collect or that are presented to them in accordance with applicable regulations, without any coercion
or improper influence from any industry personnel. Pursuant to the procedures set forth below,
District employees must immediately report any situation or incident where industry personnel
attempt to bribe, harass, coerce or improperly pressure or influence a District employee with respect
to the performance of the employee’s official duties, including the issuance of Incidents of
Noncompliance (INCs) or any other action considered or taken by the employee in accordance with
applicable regulations. A mere request by industry personnel that a District employee not issue an
INC does not, by itself, constitute interference for the purposes of this policy, so long as the request is
based on the facts and circumstances that are giving rise to the INC. On the other hand, repeated
requests not to issue INCs and/or additional conduct accompanying an individual request not to issue
an INC may amount to interference with a District employee’s performance of official duties.

        In addition, District employees must immediately report any situation or incident in which a
BOEM employee or supervisor attempts to harass, coerce, pressure, improperly influence or direct a
District employee with respect to the performance of the District employee’s official duties, including
with respect to the issuance of INCs or other action considered or taken by the District employee in
accordance with applicable regulations.

Procedures for Reporting Interference

        District employees must report any interference in the categories described above to the
Deputy Regional Supervisor, District Operations, in writing immediately. Within 24 hours of that
report, the Deputy Regional Supervisor, District Operations, will notify the Investigations and
Review Unit (IRU) of all reports of interference and provide a copy of the report of interference.

        The reporting employee must provide a copy of the written report to his/her District Manager,
unless the allegation of interference involves or relates to the District Manager, in which case it
should be reported solely to the IRU. The report should include:

       •   the name of the reporting employee;
       •   date of the alleged interference;
      Case 2:10-md-02179-CJB-DPC Document 314-4 Filed 09/21/10 Page 2 of 6



       •   name of the individual who allegedly attempted to interfere;
       •   name of the relevant company or operator;
       •   name of the facility/field/rig;
       •   detailed description of the alleged interference; and
       •   any additional relevant information.

        The relevant Deputy Regional Supervisor will consult with the IRU to determine who will
conduct the investigation into allegations of interference with BOEM employees. The IRU will make
the final decision on who should investigate. Whether the investigation is conducted by the IRU or
the Deputy Regional Supervisor, the responsibility for pursuing disciplinary actions or other adverse
employment actions will reside with the Deputy Regional Supervisor, in consultation with the Human
Resources Branch. Allegations of interference by BOEM employees not under the Deputy Regional
Supervisor’s supervision will be referred to the equivalent or appropriate supervisor for investigation.

Conflict of Interest and Recusal

        Every District employee must notify his/her supervisor about, and must request to be recused
from, any inspection or other official duty that relates to a designated operator, contract operator, or
drilling contractor who employs a member of the district employee’s family or personal friend of the
District employee, as defined below.

        Under this policy, a family member is defined as a person who is a member of the District
employee’s household, or who is a relative with whom the employee has a close personal
relationship. A close personal relationship is defined as a relative who maintains a personal
connection and regular social contact with the employee or a member of the employee’s household.

        Under this policy, a personal friend is defined as an individual who maintains a significant
personal connection to the district employee and who maintains regular social contact with the
District employee or members of the district employee’s family.

        District employees must take appropriate steps to avoid even the appearance of a conflict of
interest or loss of impartiality with respect to the performance of his or her official duties. District
employees shall not participate, without prior approval, in any activity that would appear, to a
reasonable person who is knowledgeable of the relevant facts, to present a conflict of interest. A
District employee who is concerned that an activity, event, or circumstance might present a conflict
of interest, or appearance of a conflict of interest, or raise a question regarding his or her impartiality,
shall use the below process to determine whether he or she should or should not participate in the
activity.

        Merely being acquainted with an individual who is employed on a facility/field/rig does not
by itself require a District employee to be recused from official activities that relate to the facility
where the individual works. However, a District employee should discuss the specific situation with
his or her supervisor and document any concern or situation that may be perceived as a conflict of
interest so that a determination can be made regarding whether the District employee should be
recused from performing his or her official duties on a particular facility/field/rig.

       The following is an example of a situation where recusal is not warranted:
      Case 2:10-md-02179-CJB-DPC Document 314-4 Filed 09/21/10 Page 3 of 6



The District employee’s neighbor is employed by a drilling contractor operating in the district
employee’s district and the District employee:

       •   Has limited personal knowledge of the neighbor, despite the close proximity of their
           homes;
       •   Has had only general conversations with the neighbor over time and is not someone with
           whom the employee discusses personal issues; and
       •   Does not participate in a significant number of social activities with the neighbor.

Conflict of Interest/Recusal Procedures

        All recusals must be documented by the employee on the attached Conflict of Interest
Report/Recusal Request and submitted through the District employee’s immediate supervisor, if
appropriate, and the District Manager to the Deputy Regional Supervisor. The District employee
must not perform any official duties relating to the applicable facility/field/rig while the processing of
the recusal request is pending. The Deputy Regional Supervisor, in consultation with the District
Manager, will review the recusal request as promptly as possible and make the determination on the
conflict of interest and need for recusal. The Regional Supervisor may also consult with the BOEM
Ethics Officer and other BOEM officials as he or she thinks necessary or appropriate. The form must
also be used for all situations that were reviewed but did not result in a recusal.

       A copy of the Conflict of Interest Report/Recusal Request determination will be provided to
the employee and retained in the District Office. The original form should be retained in the office of
the Deputy Regional Supervisor.

        If, while performing official duties on a facility/field/rig, an employee becomes aware that a
family member or personal friend is employed by the operator, the employee will complete the
inspection or official duties and promptly notify his or her supervisor upon returning to the office to
determine if recusal is appropriate. If the decision is made to recuse the employee, the official
activity performed by the recused district employee shall be re-scheduled and performed by a
different district employee.

Former Employment Restrictions

        District employees are not allowed to perform any official duties that relate to a former
employer who is a designated operator, contract operator, or drilling contractor for a period of two
years from the date the district employee was last employed by that employer.

Current District Employees

        All District employees who perform offshore duties are required to complete the attached
Employment History Certification. District employees must certify whether or not they were hired
by BOEM (then-MMS) prior to August 16, 2008. If hired by BOEM on or after August 16, 2008, the
District employee must provide his or her District Manager with a written description of his or her
employment history, from August 16, 2008, to the date of employment with BOEM, for review. The
District Manager will determine whether or not the District employee is to be recused from
performing official duties relating to the District employee’s former employer.
      Case 2:10-md-02179-CJB-DPC Document 314-4 Filed 09/21/10 Page 4 of 6



        District employees must submit the completed Employment History Certification to their
District Manager no later than September 15, 2010.

       The District Manager will forward the Certifications for employees who certify that they were
hired before August 16, 2008, to the Deputy Regional Supervisor.

        The Certifications for those employees hired on or after August 16, 2008, will be reviewed by
the District Manager to identify any potential conflicts of interest under this policy. The District
Manager will recuse district employees from performing official duties for a period of two years from
the date the employee was last employed by a designated operator, contract operator, or drilling
contractor. Any employee who has worked for a designated operator, contract operator, or drilling
contractor on or after August 16, 2008, will be recused by the District Manager from performing any
official duties relating to that designated operator, contract operator, or drilling contractor for a two
year period. The two year period commences on the date the employee was last employed by the
designated operator, contract operator, or drilling contractor. The District Manager will provide the
employee and the Supervisory Inspector a copy of the recusal determination and forward the original
Certification to the Deputy Regional Supervisor.

Newly Hired District Employees

        The Employment History Certification will be completed by all new district employees as part
of the pre-employment package. The Human Resources Staff will forward the completed
Certification to the appropriate District Manager to make a determination as to the need for any
recusal. The District Manager will review the district employee’s employment history to identify any
potential conflicts of interest. The District Manager will recuse the employee from performing
official duties for a period of two years from the date the employee was last employed by a
designated operator, contract operator, or drilling contractor. The District Manager will provide the
employee and the Supervisory Inspector a copy of the Certification determination and forward the
original form to the Deputy Regional Supervisor.

Other Reporting Procedures

        Allegations of or information about misconduct, ethically impermissible conduct, and
unlawful activities shall be reported to the IRU. Anyone with knowledge of or information about
fraud, waste, abuse, misconduct, mismanagement, or unlawful activity should call or write the Office
of Inspector General’s Hotline: http://www.doioig.gov/hotline. District employees also may notify
and consult with their supervisor or higher management official regarding any of these issues.

       Questions regard the guidance contained in this memorandum should be directed to the
relevant Deputy Regional Supervisor.
       Case 2:10-md-02179-CJB-DPC Document 314-4 Filed 09/21/10 Page 5 of 6



                                      Conflict of Interest/Recusal Request

Purpose: The Recusal Request must be used by an employee who has been called upon to perform inspections or other
official duties in which the designated operator, contract operator, or drilling contractor employs a family member or
personal friend of the employee, and from which the employee must therefore be recused. The Recusal Request must also
document a situation that was reviewed but did not result in a recusal. The Recusal Request may be used by other BOEM
employees who find themselves in situations in which recusal may be appropriate and should be submitted through the
employee’s supervisory chain to his or her Regional Supervisor.

Discussion: The Recusal Request is completed by the employee and submitted through the Supervisory Inspector, if
appropriate, and District Manager to the Deputy Regional Supervisor, District Operations. The District Manager in
consultation with the Deputy Regional Supervisor will make the final determination on the conflict of interest and recusal.
A copy of the Recusal Request determination will be provided to the employee and retained in the District Office. The
original Recusal Request will be retained in the office of the Deputy Regional Supervisor.

1. Name of the family member or personal friend:

______________________________________________________________________________________

2. Name of the applicable operator/company and facility/field/rig:

______________________________________________________________________________________

3. Description of the relationship of the family member or personal friend:

______________________________________________________________________________________

4. Other relevant information:

______________________________________________________________________________________

______________________________________________________________________________________

I hereby request to recuse myself from performing official duties pertaining to the above listed designated
operator, contract operator, or drilling contractor due to the employment of a family member or personal friend,
as described above.

______________________________________________________________________________________
Employee, sign & date

•   The employee is recused from performing official duties with the designated operator, contract operator, or drilling
    contractor as indicated.

•   The Recusal Request has been reviewed and the situation does not result in a conflict of interest to the employee. No
    recusal of official duties is required.

Comments or reasons for determining no conflict of interest exists:
______________________________________________________________________________________

______________________________________________________________________________________

________________________________________                       ________________________________________
Supervisory Inspector, sign & date, if appropriate             District Manager, sign & date

________________________________________________
Deputy Regional Supervisor, District Operations, sign & date
       Case 2:10-md-02179-CJB-DPC Document 314-4 Filed 09/21/10 Page 6 of 6



                                         Employment History Certification

Purpose: This Certification documents the employee’s employment history with the oil and gas industry to avoid any
conflicts of interest, potential conflicts of interest, or the appearance of a conflict of interest in performing inspections or
other responsibilities.

Discussion: The Certification will be completed by the employee and forwarded to the appropriate District Manager. The
District Manager will review the employee’s employment history to identify conflicts of interest, potential conflicts of
interest, or the appearance of a conflict of interest. The District Manager will recuse employees from performing official
duties relating to the employee’s former employer for a period of two years from the date the employee was last
employed by the former oil company/operator. The District Manager will notify and provide copies of his determination
to the Supervisory Inspector, as appropriate, and employee. The District Manager will forward the original completed
certification to the Deputy Regional Supervisor for review and maintaining the official record.

Employee’s Name: _________________________________                          District Office: __________________________

I hereby certify that I was hired prior to August 16, 2008 ___ no ___ yes (check one)

Employee Sign and Date: _____________________________________________________________

Employment History. Complete this section if employee is hired on August 16, 2008, or later. Use the reverse side if
additional space is needed.

Employee completes this section                                   District Manager completes this section


Name of Company ___________________________                       The employee is recused from performing any official
Dates of Employment                                               duties with this company
To _____________________________                                  no yes until date ______________________
From ___________________________
Name of Company ___________________________                       The employee is recused from performing any official
Dates of Employment                                               duties with this company
To _____________________________                                  no yes until date ______________________
From ___________________________
Name of Company ___________________________                       The employee is recused from performing any official
Dates of Employment                                               duties with this company
To _____________________________                                  no yes until date ______________________
From ___________________________
Name of Company ___________________________                       The employee is recused from performing any official
Dates of Employment                                               duties with this company
To _____________________________                                  no yes until date ______________________
From ___________________________


Comments: ____________________________________________________________________________

______________________________________________________________________________________

________________________________________                          ________________________________________
Employee, sign & date                                             District Manager, sign & date

________________________________________
Deputy Regional Supervisor, District Operations, sign & date
